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     re Google Play Consumer Litigation and
15   Attorneys for Plaintiff Kondomar Herrera
16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCODIVISION
18
     IN RE GOOGLE PLAY STORE ANTITRUST                    Case No. 3:21-md-02981-JD
19   LITIGATION
20
     This Document Relates To:                            NOTICE OF CHANGE OF ADDRESS
21                                                        FOR ATTORNEYS HAE SUNG NAM,
     In re Google Play Consumer Antitrust Litigation,     ROBERT N. KAPLAN, FREDERIC S.
22   Case No. 3:20-cv-05761-JD                            FOX, DONALD R. HALL, JR. AND
                                                          AARON L. SCHWARTZ
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                                                                               Case No. 3:21-md-02981-JD
                                 NOTICE OF CHANGE OF ATTORNEYS’ ADDRESSES
     Case 3:21-md-02981-JD        Document 461           Filed 03/02/23   Page 2 of 3



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE THAT, effective February 21, 2023, the New York office of
 3   Kaplan Fox & Kilsheimer LLP has relocated, and the address information for attorneys Hae Sung
 4   Nam, Robert Kaplan, Frederic S. Fox, Donald R. Hall, Jr., and Aaron L. Schwartz has changed.
 5   The new address is:
 6                                  Kaplan Fox & Kilsheimer LLP
                                    800 Third Avenue, 38th Floor
 7                                     New York, NY 10022
 8          The phone and fax numbers, and email addresses for Ms. Nam, Mr. Kaplan, Mr. Fox,
 9   Mr. Hall, and Mr. Schwartz remain the same.
10
                                         Respectfully submitted,
11
                                         KAPLAN FOX & KILSHEIMER LLP
12
     DATED: March 2, 2023                By:   /s/ Hae Sung Nam
13                                                 Hae Sung Nam
14                                       Hae Sung Nam (admitted pro hac vice)
                                         Robert N. Kaplan (admitted pro hac vice)
15                                       Frederic S. Fox (admitted pro hac vice)
                                         Donald R. Hall (admitted pro hac vice)
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                                         Co-Lead Counsel for the Proposed Class in In re Google
27                                       Play Consumer Litigation and Attorneys for Plaintiff
                                         Kondomar Herrera
28

                                                   -1-                       Case No. 3:21-md-02981-JD
                               NOTICE OF CHANGE OF ATTORNEYS’ ADDRESSES
     Case 3:21-md-02981-JD             Document 461          Filed 03/02/23   Page 3 of 3



 1                                           PROOF OF SERVICE
 2           On this date, March 2, 2023, I caused the aforementioned document entitled “Notice of
 3   Change of Address for Attorneys Frederic S. Fox, Donald R. Hall, Jr., and Aaron L. Schwartz,” to
 4   be electronically filed with the Court’s CM/ECF system, which provides notice of such filing to
 5   all parties registered for e-service in this action.
 6           Additionally, I caused the document to be served via United States first class mail, upon
 7   the following party, at the address as indicated:
 8                                         James Lee Michaels
                             Browne George Ross O’Brian Annaguey & Ellis LLP
 9                                  2121 Avenue of the Stars, 28th Floor
                                         Los Angeles, CA 90067
10

11           I am readily familiar with my firm’s processing of United States first class mail, and that
12   process is that the documents are enclosed in pre-paid sealed envelopes, addressed as indicated
13   above, and deposited with the United States Post Office during the ordinary course of business,
14   on the same date as this Proof of Service.
15           Executed this 2d day of March, 2023 at New York, New York.
16                                                                  /s/ Hae Sung Nam
                                                                        Hae Sung Nam
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                                   NOTICE OF CHANGE OF ATTORNEYS’ ADDRESSES
